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9
                              IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12   TILLIE HARDWICK, et al..                          No. C-79-1710-SW

13                             Plaintiffs,             STIPULATION TO
          j                                            CONTINUANCE; AND ORDER
14   V.   I

15   UNITED STATES OF AMERICA, et al.,
16                             Defendants.


17

18                 It is hereby stipulated by and between the parties

19   through their respective attorneys of record as follows:

20                 1.     The Court currently has calendared a hearing on

21   cross-motions for summary judgment for February 24, 1982, at 9

22
     o'clcjck a.m.. The date was selected by the Court pursuant to a
23
     stipulation of the parties, filed on November 10, 1981.
          j


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                    2.    On January 18, 1982, in preparation for the motion

     plaintiffs deposed Maurice W. Babby, Area Director of the
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     Sacrinento Area Office, Bureau of Indian Affairs.

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          I         3.    The deposition transcript will not be available
     until after February 1 and cannot be reviewed and signed prior to
28
     February 9.         Plaintiffs believe that further discovery may be
29
     necessary.
30
                    4.    Defendants have suggested further settlement
31
     discussions and have prepared a list of rancherias for plaintiffs
32
               t BiJdWSa to paTt-i-f-.
              of
Case 3:79-cv-01710-EMC   Document 65   Filed 02/12/82   Page 2 of 2
